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 6    Attorneys for Defendant Shannon D. Dicus, San Bernardino County Sheriff-Coroner, in
      his official capacity
 7

 8
                                UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10

11     EMPYREAL ENTERPRISES, LLC,                Case No. 5:22-cv-00094-JWH-SHK
       d/b/a EMPYREAL LOGISTICS
12                                               STIPULATION TO EXTEND TIME TO
                                                 RESPOND TO FIRST AMENDED
13                                               COMPLAINT
                         Plaintiff,
14
                                                 Complaint Served:        January 24, 2022
15                                               FAC Filed:               March 16, 2022
                          v.                     Current Response Date:   April 14, 2022
16                                               New Response Date:       May 13, 2022
       The United States of America; the
17
       U.S. Department of Justice; Attorney      Honorable District Court Judge
18     General MERRICK GARLAND, in               John W. Holcomb
       his official capacity; the Federal        Honorable Magistrate Judge
19
       Bureau of Investigation;                  Shashi H. Kewalramani
20     CHRISTOPHER A. WRAY, Director
       of the Federal Bureau of Investigation,
21
       in his official capacity; KRISTI
22     KOONS JOHNSON, Assistant
       Director of the Federal Bureau of
23
       Investigation overseeing the FBI’s Los
24     Angeles Field Office, in her official
       capacity; the Drug Enforcement
25
       Administration; ANNE MILGRAM,
26     Administrator of the Drug
27
       Enforcement Administration, in her
       official capacity; SHANNON D.
28                                         1
          STIPULATION TO EXTEND TIME FOR SHERIFF TO RESPOND TO FIRST AMENDED
                                      COMPLAINT
     Case 5:22-cv-00094-FWS-SHK Document 75 Filed 04/13/22 Page 2 of 3 Page ID #:905




 1     DICUS, San Bernardino County
 2     Sheriff-Coroner, in his official
       capacity as the head of the San
 3     Bernardino County Sheriff’s Office.
 4
                         Defendants.
 5

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 7

 8          Plaintiff EMPYREAL ENTERPRISES, LLC d/b/a EMPYREAL LOGISTICS
 9    (“Plaintiff”) and Defendant SHANNON D. DICUS, San Bernardino County Sheriff-
10    Coroner, in his official capacity (the “Sheriff”), by and through their counsel of record,
11    hereby stipulate that Defendant SHANNON D. DICUS shall have until May 13, 2022 to
12    respond to Plaintiff’s First Amended Complaint for Declaratory and Injunctive Relief.
13    Plaintiff filed a First Amended Complaint on March 16, 2022. The parties initially agreed
14    that the Sheriff’s deadline to respond to the First Amended Complaint would be April 14,
15    2022. See Order, Dkt. 73.
16          Subsequently, counsel for Plaintiff and for the Sheriff have been in discussion
17    regarding potential settlement and dismissal of this matter in its entirety. The parties
18    believe additional time is warranted to reach a settlement agreement as productive
19    dialogue between the partis is ongoing.
20          In the interest of litigation and judicial economy, the parties hereby stipulate that
21    the deadline for the Sheriff deadline to respond to the First Amended Complaint should be
22    extended to May 13, 2022 and request a Court order reflecting the same.
23    //
24    //
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           STIPULATION TO EXTEND TIME FOR SHERIFF TO RESPOND TO FIRST AMENDED
                                       COMPLAINT
     Case 5:22-cv-00094-FWS-SHK Document 75 Filed 04/13/22 Page 3 of 3 Page ID #:906




 1          The parties further stipulate and agree that the Sheriff retains the right to respond
 2    via motion pursuant to Rule 12(b) of Federal Rules of Civil Procedure on or before the
 3    extended date.
 4

 5          SO STIPULATED.
 6

 7    DATED: April 13, 2022                   Respectfully submitted,
 8                                            KOELLER, NEBEKER, CARLSON & HALUCK
 9
10                                            /s/ David C. Bass
                                              DAVID C. BASS
11                                            Attorneys for Plaintiff Empyreal Enterprises, LLC
12

13

14    DATED: April 13, 2022                   Respectfully submitted,
15                                            TOM BUNTON
16
                                              County Counsel

17
                                              /s/ Heidi K. Williams
18                                            HEIDI K. WILLIAMS
                                              Deputy County Counsel
19                                            Attorneys for Defendant
20
                                              Shannon D. Dicus, San Bernardino County
                                              Sheriff-Coroner, in his official capacity
21

22          I certify that all other signatories listed, and on whose behalf the filing is submitted,
23    concur in the filing’s content and have authorized the filing.
24                                             /s/ Heidi K. Williams
25
                                               HEIDI K. WILLIAMS

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28                                         3
          STIPULATION TO EXTEND TIME FOR SHERIFF TO RESPOND TO FIRST AMENDED
                                      COMPLAINT
